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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

____________________________________
                                                §
UNITED STATES OF AMERICA,                       §
                                                §
                        Plaintiff,              §
v.                                              §
                                                §       Civil No. 1:21-cv-796-RP
THE STATE OF TEXAS,                             §
                                                §
                        Defendant.              §

             UNITED STATES’ RESPONSE TO MOTIONS TO INTERVENE

        The United States hereby responds to the Motion to Intervene by Erick Graham, Jeff Tuley,

and Mistie Sharp, filed September 22, 2021 (Dkt. 28), and the Motion to Intervene by Oscar Stilley,

filed September 24, 2021 (Dkt. 31). Messrs. Graham and Tuley and Ms. Sharp seek to intervene as

defendants of right under Federal Rule of Civil Procedure 24(a) or, in the alternative, permissively

under Federal Rule of Civil Procedure 24(b). See Dkt. 28 at 1. In reliance on their same legal analysis,

Mr. Stilley also seeks to intervene as a defendant of right. Dkt. 31 at 2 ¶ 7.

        The United States opposes intervention as-of-right under Rule 24(a) because movants have

not satisfied their burden to demonstrate that the State of Texas cannot adequately defend their

interests in this case. The United States takes no position on permissive intervention under Rule 24(b).

Dated: September 28, 2021                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that a copy of this filing was served on Texas and its counsel of record through

electronic filing in the Court’s ECF system.

                                                           /s/ James Powers
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